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                                                                                          6.21.2022
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                  IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
__________________________________________________________________________

VICTOR BODDIE,                                    )
                                                  )
       Plaintiff,                                 )
                                                  )
vs.                                               ) No. 2:19-cv-02423-JPM-atc
                                                  )
THE CHEMOURS CO. a/k/a THE
CHEMOURS CO. FC, LLC,                  )
                                       )
      Defendant.                       )
___________________________________________________________________________

                    SUPPLEMENTAL JURY INSTRUCTIONS
___________________________________________________________________________


       Ladies and gentlemen of the jury, we have now come to the second phase of the case,

when it is my duty to instruct you in the law as it applies to punitive and liquidated damages.

Again, you must follow the law as I give it to you.

       In the first phase of this trial, you found the Defendant Chemours liable to the Plaintiff

for discrimination, in violation of Title VII of the Civil Rights Act of 1964, the Age

Discrimination in Employment Act of 1967 (the “ADEA”), and 42 U.S.C. § 1981. You, the jury,

also agreed that the Plaintiff had shown by a preponderance of the evidence that the Defendant

violated Title VII and 42 U.S.C. § 1981 with malice or reckless disregard for the Plaintiff’s

rights. You also found that the Defendant willfully violated the ADEA.

       As we discussed earlier, as jurors it is your exclusive duty to decide all questions of fact

submitted to you and for that purpose to determine the effect and value of the evidence. You

must not be influenced by sympathy, bias, prejudice, or passion. You are not to single out any

particular part of the instructions and ignore the rest, but you are to consider all the instructions



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as a whole and regard each in the light of all the others. These instructions are in addition to the

instructions that you have already received.




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                                                     Punitive Damages – Title VII and Section 1981

       If you find that the Plaintiff is entitled to punitive damages, you must decide the amount

of those damages. The Plaintiff has the burden of proving by a preponderance of the evidence

the amount of punitive damages that you should award. In making your decision you must

consider the instructions that I have already given you and also the following:

       a.      The Defendant’s net worth and financial condition;

       b.      The objectionable nature of the Defendant’s wrongdoing, the impact of the

               Defendant’s conduct on the Plaintiff, and the relationship of the Parties;

       c.      The Defendant’s awareness of the amount of harm being caused and the

               Defendant’s motivation in causing that harm;

       d.      The duration of the Defendant’s misconduct and whether the Defendant attempted

               to conceal the conduct;

       e.      Whether the Defendant profited from the activity, and if so, whether the punitive

               award should be in excess of the profit in order to deter similar future behavior;

       f.      The number and amount of previous punitive damage awards against the

               Defendant based upon the same wrongful act;

       g.      Whether, once the misconduct became known to the Defendant, the Defendant

               tried to remedy the situation or offered a prompt and fair settlement for the actual

               harm caused; and

       h.      Any other circumstances shown by the evidence that bear on determining the

               proper amount of the punitive award.

       You have already awarded compensatory damages for the purpose of making the Plaintiff

whole. The purpose of an award for punitive damages is to punish the wrongdoer and to deter




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misconduct by the Defendant or others. The amount, if any, is up to you the jury. You are not

required to award any amount of punitive damages.




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                                                                 Liquidated Damages – ADEA

       The ADEA provides for additional damages for a willful violation. Liquidated damages

may be up to a doubling of the total of back pay, front pay, and compensatory damages to which

you have already determined the Plaintiff is entitled. Again, you are not required to award any

amount of additional damages.




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